                 Case 2:22-cv-00267-BJR Document 12 Filed 06/13/22 Page 1 of 1
                                            Affidavit      of Process Server
                                                 Va. code 8.01-293, 8.01-320.8.01 -325



United States District Court for the
                                                                                           22-cy-00267-B.m
                                                                                           Case Number
Western District of Washington
NONE,WA
                                                                                           Return/Hearing Date

Gre~      Akselrod. et al
Plainti f/Petitioner
                                             In re/ Vs                                     Fresh   Start Realty, LLC, et al
                                                                                           Defendant/Respondent



Service Information: Moe     Matthews
                    4355 Windsor Lake Drive Louisa, VA23093
Documents(s): Summons;       Complaint; Initial Scheduling Order
I, Kohen Blackwell being duly sworn, declare that I am a citizen of the United States, over the age of eighteen and not
a party to the action, nor otherwise interested in the subject matter in controversy.

                                  Service was completed on May 27, 2022. at 8;52 AM

                                                  MANNER OF SERVICE:

( X ) PERSONAL SERVICE - By delivering a copy of the above described process in writing to him/her or
entity in person.
Description: Sex: Mak Skin:    Unknown Hair: Gnu: Height: £z.:: Weight:~ Age:~
                                                          Service Attempts:

Datetrime                   Address           Remarks
                            4355 Windsor Lake
05/23/2022-11 :02 AM                          No one home. (KB).
                            Drive


I declare under penalty of perjury that the information contained herein is true and correct and this affidavit was

executed on May 27, 2022 at    Richmond, Virginia
State of Virginia
County of Chesterfield

                                                                                           ~ occ!!:e~,JJ
                                                                                           Kohen Blackwell


Subscribed and sworn before me, a no_,c
                                      _~ p=-ut
                                             ~b'-l'-+th-is_M_a_y_2_7_._2_0_22
                                                     i                      ________________

                                       N~                       \A )Kimberly Satterwhite   ( )Mark L Mazza             () Tracie M. Balek-B~well
                                       My commission expires:   f,- ~anuary 31, 2024       September 30. 2023          June 30, 2024
                                       Registration numbers:      7864839                  7822027                     78626 I5




                                       11503 Allecingie Parkway, 3rd Floor                 Samuel J. Strauss, Esq
                                       Richmond,Vn23235                                    Turke & Strauss LLP
                                       804-379-5500                                        Client Ref#: I 0004-00647

                                                                                           Job # - 129796
